          Case 2:16-cv-03799-DJH Document 49 Filed 06/20/18 Page 1 of 3



 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   HKB Inc., an Arizona corporation, et al.,       No. CV-16-03799-PHX-DJH
                                                     No. CV-17-00198-PHX-DJH
10                         Plaintiff,
                                                     ORDER
11   v.
12   Board of Trustees for the Southwest
     Carpenter’s Southwest Trust, et al.,
13
                           Defendants.
14
15
     Board of Trustees for the Southwest
16   Carpenter’s Southwest Trust, et al.,
17                         Consolidated Action
                           Plaintiffs,
18
     v.
19
     HKB Inc., an Arizona corporation, et al.,
20
                           Consolidated Action
21                         Defendants.
22
23
24            This matter is before the Court upon its own review. Plaintiff HKB Inc. (“HKB”)
25   initiated this action by filing a Complaint for Declaratory Judgment (Doc. 1) on
26   November 2, 2016. Shortly before HKB filed this action, Defendants filed an action
27   against HKB, and three of its employees, in the Central District of California. In that
28   action, Defendants sought benefit contributions allegedly owed to them under a collective
         Case 2:16-cv-03799-DJH Document 49 Filed 06/20/18 Page 2 of 3



 1   bargaining agreement it had with HKB, and arising under 29 U.S.C. § 1132 and 1145 of
 2   the Employee Retirement Income Security Act of 1974. (Doc. 23-1). On January 17,
 3   2017, the Central District of California granted HKB’s motion to transfer that action to
 4   the District of Arizona. (2:17-cv-00198-DJH, Doc. 28). That case was consolidated with
 5   the present matter on February 16, 2017. (Doc. 32).
 6           Defendants filed a Motion to Dismiss pursuant to FRCP 12(b)(3), (6), (7), or, in
 7   the Alternative, to Stay Action, on November 22, 2016. (Doc. 14). The Court issued an
 8   Order denying Defendants’ Motion in its entirety. (Doc. 45). While the Motion to
 9   Dismiss was pending, and prior to the Court issuing its decision on that Motion, HKB
10   filed two motions for summary judgment, one related to the statute of limitations issue
11   (Doc. 31) and one related to the fiduciary duty issue.1 (Doc. 42).
12           On review of the docket, the Court found that neither party has answered the
13   respective Complaints. The Court presumes this is a result of the filing of the summary
14   judgment motions while the ruling on the motion to dismiss was pending. The Court
15   finds that the Complaints allege different claims, which necessitates an Answer from
16   each party. The Court also notes that Defendants argue, in part, that the summary
17   judgment motion is premature as the pleadings have not closed and discovery has not
18   commenced.      The Court agrees and will deny the Motion without prejudice.        The
19   Plaintiffs and Defendants shall have thirty days in which to answer the respective
20   Complaints.2 Subsequent to both Answers being filed, the Court will issue its Rule 16
21   Scheduling Conference Order.
22           Accordingly,
23           IT IS HEREBY ORDERED that the Amended Motion for Summary Judgment
24   (Doc. 31) is DENIED without prejudice.
25
     1
      The Court previously considered and granted this Motion solely because the Defendants
26
     submitted a Notice which stated that “they agree[d] the motion should be granted” and
27   “ask[ed] the Court to grant the motion.” (Doc. 46).
28   2
      As previously Ordered (Doc. 29), all documents shall be filed in case 2:16-cv-03799-
     DJH.

                                                -2-
       Case 2:16-cv-03799-DJH Document 49 Filed 06/20/18 Page 3 of 3



 1         IT IS FURTHER ORDERED that the parties shall answer the respective
 2   Complaints by no later than July 20, 2018.
 3         Dated this 20th day of June, 2018.
 4
 5                                                 Honorable Diane J. Humetewa
 6                                                 United States District Judge

 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  -3-
